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Anpellate Division of the Supreme Court

of the State of New York
Second Judicial Bepariment

3, Aprilanne Agostino, Clerk of the Appellate Dtutston of the
Supreme Court of the State of New York, Second Judicial Department,
ia hereby certify that Martin C. Geagan was duly
licensed and admitted to practice as an Attorney and Counselor-at-Wan
in all the courts of the State, according to the laws of the State and the
court rules and orders, onthe With day of December 2000,

has duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Boll of Attorneys and Counselors-at-Law on file in
my office, has duly registered with the administrative office of the
courts, and according to the records of this court is in good standing as

an Attorney and Comiselor-at-Lant.

Iu Witness Wherenf, J have hereunto set
may hand and affixed the seal of said
Appellate Division on Suly 15, 2014.

Clerk of the Court

